             Case 8:18-cv-00079-JVS-KES Document 1-1 Filed 01/12/18 Page 1 of 3 Page ID #:14
                                       UNITED STA1 ~6 DISTRICT COURT,CENTRAL DISTRICT OF ..ALIFORNIA
                                                             CIVIL COVER SHEET
 I.(a) PLAINTIFFS (Check box if you are representing yourself 0)                        DEFENDANTS  (Check box if you are representing yourself D )
 UNITED STATE OF AMERICA ex rel.                                                        B. BRAUN MEDICAL, INC.


(b) County of Residence of First Listed Plaintiff                                       County of Residence of First Listed Defendant Orange
(EXCEPT IN U.S. PLAINTIFF CASESJ                                                       (lN U.S. PLAINTIFF CASES ONLY)
(C) Attorneys(Firm Name, Address and Telephone Numbed If you are                        Attorneys (Firm Name, Address and Telephone Numbed If you are
 representing yourself, provide the same information.                                   representing yourself, provide the same information.
 GRUBER & GRUBER
 15165 Ventura Boulevard, Suite 450

 Sherman Oaks, CA                    91403

 II. BASIS OF JURISDICTION (Place an X in one box only)                         III. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                     (Place an X in one box for plaintiff and one for defendant)
                                                                                                          PTFDEF                                  PTF DEF
      1. U.S. Government            ~ 3. Federal Question (U.S.
                                                                                Citizen of This State     0~ ~ ~ Incorporated or Principal Place ~ 4 ~ 4
      Plaintiff                       Government Not a Party)                                                    of Business in this State
                                                                                Citizen of Another State ~ 2 ~ 2 Incorporated and Principal Place ~ 5 ~ 5
 D 2. U.S. Government                                                                                          of susiness in anotner State
                                    D 4. DiversitY lIndicate CitizenshiP        Citizen or Subject of a
   Defendant                          of Parties in Item III)                   Foreign Country         0 3 03 Foreign Nation                              ~ 6 ~6

 IV. ORIGIN (Place an X in one box only.)
       1.Original  ~ 2. Removed from ~ 3. Remanded from ~ 4. Reinstated or  5.Transferred from Another  6. Multidistrict ~8. Multidistrict
        Proceedin9                                           ReoPened      ~ District (Specify)        ~ Litigation -        Litigation -
                       State Court       Appellate Court                                                   Transfer          Direct File

 V. REQUESTED IN COMPLAINT: JURY DEMAND: ~X Yes ~ No (Check "Yes" only if demanded in complaint.)
 CLASS ACTION under F.R.Cv.P. 23: ~Yes ~X No                                  ~X MONEY DEMANDED IN COMPLAINT: $
 VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
 31 U.S.C. §3730(b)(2) Failure to remedy contamination of product and thereafter
 seeking payment from the government for the product.
 VII. NATURE OF SUIT (Place an X in one box only).
      OTHER STATUTES                  CONTRACT           REAL PROPERTY CONT.             IMMIGRATION             PRISONER PETITIONS              PROPERTY RIGHTS
      375 False Claims Act     0110 Insurance           0240 Torts to Land          ~462 Naturalization        Habeas Corpus:              0820 Copyrights
       376 Qui Tam                                       245 Tort Product            Application             ~463 Alien Detainee           ~ 830 Patent
      (31 USC 3729(a))         012o Marine              0Liability                                           0510 Motions to Vacate
                                                                                      465 Other
      400 State                                                                                               Sentence                     0840 Trademark
                                ~ ~ 30 Miller Act          290 All Other Real      ~Immi ration Actions
      Reapportionment                                    ~ Pro e                          TORTS         0530 General                              SOCIAL SECURITY
                                0X 40 Negotiable
0 410 Antitrust                   Instrument                   TORTS               PERSONAL PROPERTY ~ 535 Death Penalty                   0861 HIA (1395f~
      430 Banks and Banking     150 Recovery of            PERSONAL INJURY         ~370 Other Fraud           Other:                       ~ g62 Black Lung (923)
      450 Commerce/ICC         0Overpayment 8           0310 Airplane                                    ~ 540 Mandamus/Other
                                Enforcement of                                     ~371 Truth in Lending                                   0863 DIWC/DIWW (405 (g))
      RateslEtc.                                          315 Airplane
                                Judgment                 ~ product Liability        380 Other Personal ~ 550 Civil Rights                  0g64 SSID Title XVI
      460 Deportation                                                              ~Property Damage      0555 Prison Condition
                                  51 Medicare Act 0S?anderault, Libel &
                               0~                                                                                            ~ 865 RSI (405 (g))
      470 Racketeer Influ-                                                   385 Property Damage      560 Civil Detainee
      enced &Corrupt Org.         152 Recove~Y of     330 Fed. Employers' 0Product Liability       0Conditions of              FEDERAL TAX SUITS
                                  Defaulted Student ~ Liability                                       Confinement
      480 Consumer Credit         Loan (Excl. Vet.) 0                         B~KRUPTCY                                      ~ 870 Taxes (U.S. Plaintiff or
                                                                                                    FORFEI7URE/PENALTY
                                                      340 Marine                                                               Defendant)
~
j 490 Cable/Sat N                 153 Recovery of                            422 Appeal 28
                                                      345 Marine Product ~                            625 Drug Related        871 IRS-Third Party 26 USC
                                                                             USC 758
 850 Securities/Com-           ~ Overpayment of     ~ Liability                                    ~ Seizure of Property 21 07609
                                  Vet. Benefits                              423 Withdrawal 28        USC 881
0 modifies/Exchange                                 0350 Motor Vehicle
                                                                             USC 157              0690 Other
      890 Other Statutory      0160 Stockholders'     355 Motor Vehicle       CIVIL RIGHTS
      Actions                     Suits             0product Liability
                                                                           X440 Other Civil Rights          FOR
0 891 Agricultural Acts           1 g0 Other          360 Other Personal
                                                                           0441 Voting             ~  ~~OFairLaborStandards
                                  Contract          ~ Injury                                          Act
      893 Environmental
                                                      362 Personal Injury-
      Matters                  O 195 Contract       ~ Med Malpratice       X442 Employment         ~ 720 Labor/Mgmt.
  895 Freedom of Info.            Product Liability                          443 Housing/             Relations
                                                      365 Personal Injury-
0 Act                          0196 Franchise       ~ product Liability      Accomodations         ~ 740 Railway Labor Act
      896 Arbitration           REAL PROPERTY        367 Health Care/        445 American with
                                                                                                      751 Family and Medical
  899 Admin. Procedures        ~ 210 Land           ~Pharmaceutical        0Disabilities-          ~ Leave Act
0 AcUReview of Appeal of          Condemnation       Personal Injury         Employment
                                                                                                      790 Other Labor
  Agency Decision              ~ 220 Foreclosure     Product Liability     X446 American with     0Litigation
0 950 Constitutionality of                           368 Asbestos            Disabilities-Other
                               0230 Rent Lease & ~ Personal Injury                                        Employee Ret. Inc.
  State Statutes                                                           X448 Education          D 791
                                  E'ectment          Product Liabili                                  Security Act


FOR OFFICE USE ONLY:                      Case Number:                                                     ~ ~~ ~ Q _ ~ ~ (~~
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                                                                                                                                                                  CCD-CV71
            Case 8:18-cv-00079-JVS-KES Document 1-1 Filed 01/12/18 Page 2 of 3 Page ID #:15
                                       UNITED STA1 ~.i DISTRICT COURT,CENTRAL DISTRICT OF ..ALIFORNIA
                                                              CIVIL COVER SHEET

~/~~~. ~/ENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the CouR's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?                                            STATE CASE WAS PENDING IN THE COUNTY OF:                                 INITIAL DIVISION IN CACD IS:
           0 Yes           OX     No
                                               Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                             Western
If"no,"skip to Question B. If"yes,"check the
box to the right that applies, enter the     ~ Orange                                                                                             Southern
corresponding division in response to
Question E, below, and continue from there.0Riverside or San Bernardino                                                                            Eastern


QUESTION B: Is the United States, or B.1. Do 50% or more of the defendants who reside in                      YES. Yourcase will initially be assigned to the Southern Division.
one of its agencies or employees, a  the district reside in Orange Co.?                                       Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action?                                                                                     from there.
                                     check one of the boxes to the right
            ~X      Yes 0No                                                                              ENO. Continue to Question B.2.

                                                6.2. Do 50% or more of the defendants who reside in
                                                                                                              YES. Your case will initially be assigned to the Eastern Division.
If"no,"skiptoQuestionC. If"yes,"answer          the district reside in Riverside and/or San Bernardino        Enter "Eastern" in response to Question E, below, and continue
Question B.1, at right.                         Counties? (Consider the two counties together.)               from there.

                                               check one of the boxes to the right ~                          NO. Your case will initially be assigned to the Western Division.
                                                                                                              Enter "Western" in response to Question E, below, and continue
                                                                                                              from there.


QUESTION C: Is the United States, or C.1. Do 50°l0 or more of the plaintiffs who reside in the                YES. Yourcase will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                                           Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                                     from there.
                                     check one of the boxes to the right
                    Yes    OX     No                                                                     ENO. Continue to Question C.2.

                                               C.2. Do 50% or more of the plaintiffs who reside in the  YES. Your case will initially be assigned to the Eastern Division.
If"no,"skiptoQuestion D. If"yes,"answer        district reside in Riverside and/or San Bernardino      ~Enter"Eastern" in response to Question E, below, and continue
Question C.1, at right.                        Counties? (Consider the two counties together.)          from there.

                                               check one of fhe boxes to the right ~                        NO. Your case will initially be assigned to the Western Division.
                                                                                                            Enter"Western" in response to Question E, below, and continue
                                                                                                            from there.

                                                                                                         A.                        B.                  C.
                                                                                                                            Riverside or san LosAngeles,Ventura,
QUESTION D: Location of plaintiffs and defendants?
                                                                                                 Orange County             Bernardino County Santa Barbara, or San
                                                                                                                                              Luis Obispo County
Indicate the locations) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)                          0
Indicate the locations) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices                         0                        0                            0
a ppl .)


              D.1. Is there at least one answer in Column A?                                             D.2. Is there at least one answer in Column B?

                            ~X     Yes    0No                                                                         ~ Yes          ~X    No

               If "yes," your case will initially be assigned to the                                       If "yes," your case will initially be assigned to the

                            SOUTHERN DIVISION.                                                                            EASTERN DIVISION.

 Enter "Southern" in response to Question E, below, and continue from there.                              Enter "Eastern" in response to Question E, below.

                     If "no," go to question D2 to the right.    ~                                If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                         Enter "Western" in response to Question E, below.


QUESTION E: Initial Division?                                                                                       INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above:~ Southern

QUESTION F: Northern Counties?
Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                 [~ Yes ~No

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                                    UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                         CIVIL COVER SHEET

 IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                              D NO              ~X      YES

         If yes, list case number(s):

 IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal cases) previously filed in this court?
                                                                                                                       ~ X NO                              0 YES
         If yes, list case number(s):


         Civil cases are related when they (check all that apply):

              ~X    A. Arise from the same or a closely related transaction, happening, or event;

           0 B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. For other reasons would entail substantial duplication of labor if heard by different judges.

         Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

           0 B. Call for determination of the same or substantially related or similar questions of law and fact; or

           0 C. Involve one or more defendants from the criminal casg in common and would entail substantial duplication of
             labor if heard by different judges.           n     ,~~


 X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT):                                                                                DATE:
                                               Daniel S."GRUBER, ESQ.,                                                        '
Notice toCounsel/Parties: The submission of this Civil CoverSheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required bylaw,except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet(CV-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code      Abbreviation                   Substantive Statement of Cause of Action
                                                 All claims for health insurance benefits(Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                      HIA             include claims by hospitals, skilled nursing facilities, etc.,for certification as providers of services under the program.
                                                (42 U.S.C. 1935FF(b))

        862                      BL              All claims for"Black Lung" benefits underTitle 4,Part B,ofthe Federal Coal Mine Health and Safety Act of 1969.(30 U.S.C.
                                                 923)

        863                      DIWC            All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
                                                 all claims filed for child's insurance benefits based on disability.(42 U.S.C. 405 (g))

                                                 All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
        863                      DIVWV
                                                 amended.(42 U.S.C. 405 (g))


        864                      SSID            All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
                                                 amended.

        865                      RSI             All claims for retirement(old age)and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                (a2 u.s.C. aos (g))




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